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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                              CR 18–05–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 CHRISTOPHER GEORGE NOMURA,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on August 1, 2018. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Christopher George Nomura’s

guilty plea after Nomura appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered a plea of guilty to one count of possession of

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methamphetamine with the intent to distribute in violation of 21 U.S.C. §

841(a)(1) as set forth in Count II of the Indictment, and one count of possession of

a firearm in furtherance of a drug trafficking crime in violation of 18 U.S.C. §

924(c)(1)(A) as set forth in Count V of the Indictment. In exchange for

Defendant’s plea, the United States has agreed to dismiss Counts 1 and IV of the

Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

33), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Christopher George Nomura’s motion

to change plea (Doc. 26) is GRANTED and Christopher George Nomura is

adjudged guilty as charged in Counts II and V of the Indictment.

      DATED this 20th day of August, 2018.




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